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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ABC Corporation I et al,

                        Plaintiff,               CASE NO. 1:20-cv-04806

        v.                                       Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


                           DEFENDANT AND THIRD-PARTY
                        RESPONDENTS’ MOTION FOR DAMAGES

       Comes Now, Defendant Gyroor-US (“Defendant” or “Gyroor-US”), Third-Party

Respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM

(collectively, “Third-Party Respondents”), former wrongfully-enjoined Defendant Jiangyou-US

(“Jiangyou-US”) and third-party respondent Shenzhen Yanjingmaoyi Co., Ltd. (“Yanjin-US”)

respectfully move the Court for an Order granting damages to Defendant and Third-Party

Respondents as a result of the wrongfully issued Preliminary Injunction Order against Plaintiffs

Hangzhou Chic Intelligent Technology Co., Ltd. (“Chic”) and Unicorn Global, Inc.’s (“Unicorn”,

and collectively with Chic, “Plaintiffs”).

       In support of this Motion, Defendant and Third-Party Respondents, Jiangyou-US

and Yanjin-US Respondents herewith submit a Memorandum of Law.




 Date: 2/9/2024                                      /s/ Wei Wang
                                                     Wei Wang, Esq.
                                                     GLACIER LAW LLP
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                                           and Yanjin-US
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this February 9, 2023, I electronically filed the foregoing file with

the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of record

and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: 02/09/2023                                 /s/ Wei Wang
